O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
             STEVEN SCOTT CLINE                                                    Case     1:09 mj 17-10
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
     (1) There is probable cause to believe that the defendant has committed an offense
              for which a maximum term of imprisonment of ten years or more is prescribed in                                                        .
              under 18 U.S.C. § 924(c).
     (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
X    (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence X a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                   1:09 mj 17-1

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
STEVEN SCOTT CLINE.
_______________________________

I. FACTORS CONSIDERED

      18 U.S.C. § 3142:
      (g) Factors to be considered.--The judicial officer shall, in determining whether there are
      conditions of release that will reasonably assure the appearance of the person as required and
      the safety of any other person and the community, take into account the available information
      concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

           (A) the person's character, physical and mental condition, family ties, employment,
               financial resources, length of residence in the community, community ties, past
               conduct, history relating to drug or alcohol abuse, criminal history, and record
               concerning appearance at court proceedings; and
            (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
        posed by the person's release.




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 II.                                     FINDINGS


  As to factor:


  (g)(1): The nature and circumstances of the offense charged involve a crime of violence, that
 being bank robbery.


  (g)(2): The weight of the evidence against the person appears to be strong and significant.
 The defendant has given a statement in which he has admitted his participation in the crime
 of bank robbery.


  (g)(3): The history and characteristics of the person


      (A) Family ties, employment, financial resources, length of residence in the community,
  community ties, past conduct, history relating to drug or alcohol abuse, criminal history
  and record concerning appearance at court appearances indicate that the defendant has
  family ties in the Gastonia community, he has had employment in the year 2008. The
  defendant has had a long length of residence in the Gaston and Mecklenburg County
  communities. He has also resided in the state of Florida. The defendant’s history relating
  to drug or alcohol abuse shows that the defendant is 46 years old and has been using alcohol
  since age 13 and cocaine from age 20. The defendant has also used marijuana,
  amphetamines, barbiturates and heroin. The defendant participated in a drug treatment
  program at Black Mountain, NC in 1987 and 1993. In regard to the defendant’s criminal
  history relating to drug or alcohol abuse, the defendant has the following convictions:
         Offense                                                           Conviction Date
 Intoxicated and disruptive                                                    08/02/88
 Intoxicated and disruptive                                                    07/11/89

 In addition to the above referenced offenses, the defendant has the following additional
 criminal convictions:
           Offense                                                          Conviction Date
 Felony larceny                                                                 Unknown
 Armed robbery                                                                  05/26/83
 Assault with a deadly weapon                                                   05/26/83
 Resisting a public officer                                                     05/26/83
 Felony escape from state prison                                                 04/22/85
 Resisting public officer                                                        08/02/88
 Misdemeanor larceny                                                             10/04/88
 Disorderly conduct                                                              07/11/89
 Shoplifting, SC                                                                 02/15/93
 Simple assault, SC                                                              02/15/93
 Simple affray                                                                   04/25/94



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 Felony assault with deadly weapon inflicting serious injury                     07/27/94
 Shoplifting, FL                                                                 12/16/94
 Shoplifting, FL                                                                  04/04/95
 Bank robbery, United States District Court                                      03/06/98
 Resisting an officer                                                            02/11/09

 In addition, when the defendant was released on supervised release from the conviction in
 the United States District Court in Charlotte, NC, it is alleged he has violated the terms and
 conditions of his supervised release.

      (B) At the time of the current offense or arrest, the defendant was on probation, parole
  or other release pending trial, sentencing, appeal or completion of sentence. It appears that
  this factor does exist. The defendant was serving a term of supervised release from a
  conviction for bank robbery in the United States District Court in Charlotte, NC at the time
  of the alleged offense in this matter.


 (g)(4): The nature and seriousness of the danger to any person or the community that would
 be posed by the person’s release indicate by clear and convincing evidence that the release
 of the defendant would create a risk of harm or danger to any other person or the community.
 The criminal record of the defendant shows that he has been convicted of multiple charges
 involving violence and a previous charge of bank robbery. These factors show by clear and
 convincing evidence that the release of the defendant would create a risk of harm or danger
 to any other person or the community.
 The undersigned does find by a preponderance of the evidence that the release of the
 defendant would create a risk of flight on his part. The defendant has a previous conviction
 for felony escape from state prison. He is now facing a second charge of bank robbery in the
 United States District Court. These factors show by a preponderance of the evidence that the
 release of the defendant would create a risk of flight on his part.


 WHEREFORE, it is ORDERED that the defendant be detained pending further
 proceedings in this matter.
                                           Signed: April 1, 2009




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